
This case is one of three appealed to the court from a denial of an equitable adjustment by the Department of the Army Corps of Engineers Board of Contract Appeals. It involves legal issues identical to those discussed in the other two cases; the facts are similar yet not identical. The trial judge’s recommended opinion (filed February 27, 1979) is reported in full at 26 CCF para. 83,111. The related case of Sanders Constr. Co. and Ray Kizer Constr. Co. v. United States, Docket No. 277-77, is discussed ante at 639. On April 20, 1979 the court, by order, adopted the recommended decision of Trial Judge Robert J. Yock as the basis for its judgment in this case, granted plaintiffs motion for *642summary judgment, denied defendant’s cross-motion, and remanded the case to the Board for determination of the amount of the equitable adjustment.
On November 20, 1979 a stipulation of dismissal was filed and the petition was dismissed pursuant to Rule 102(a)(l)(ii).
